Filed 05/21/19                                                                           Case 18-22156                                                                                       Doc 118
     Fill in this information to identify your case:

     Debtor 1                   Robert Aurthur Hamman
                                First Name                           Middle Name                          Last Name

     Debtor 2                   Deanna Clowan Hamman
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number           2018-22156
     (if known)
                                                                                                                                                                      Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             440,764.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              61,556.25

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             502,320.25

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             356,517.54

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                5,622.52

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              87,035.64


                                                                                                                                         Your total liabilities $               449,175.70


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,373.91

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,388.67

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 05/21/19                                                             Case 18-22156                                                                 Doc 118
     Debtor 1      Robert Aurthur Hamman
     Debtor 2      Deanna Clowan Hamman                                                       Case number (if known) 2018-22156
                 the court with your other schedules.

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       6,953.32


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              5,622.52

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

           9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                  0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 5,622.52




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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Filed 05/21/19                                                                    Case 18-22156                                                                             Doc 118
     Fill in this information to identify your case:

     Debtor 1                   Robert Aurthur Hamman
                                First Name                      Middle Name                      Last Name

     Debtor 2                   Deanna Clowan Hamman
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           2018-22156
     (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             Shellpoint Mortgage
     2.1                                                                                                          $282,995.15               $438,264.00            Unknown
             Servicing                                Describe the property that secures the claim:
             Creditor's Name                          914 Oak Ridge Drive Roseville, CA
                                                      95661 Placer County
                                                      Value per zillow.com (A)
                                                      As of the date you file, the claim is: Check all that
             PO Box 10826                             apply.
             Greenville, SC 29603                         Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred          03/24/2005                Last 4 digits of account number        2276




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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Filed 05/21/19                                                                       Case 18-22156                                                                        Doc 118

     Debtor 1 Robert Aurthur Hamman                                                                               Case number (if known)   2018-22156
                   First Name                  Middle Name                      Last Name
     Debtor 2 Deanna Clowan Hamman
                   First Name                  Middle Name                      Last Name


             West Coast Capital
     2.2                                                                                                                 $61,781.39           $438,264.00       Unknown
             Group Inc.                                 Describe the property that secures the claim:
             Creditor's Name                            914 Oak Ridge Drive Roseville, CA
             2618 San Miguel Drive #                    95661 Placer County
             339                                        Value per zillow.com (A)
                                                        As of the date you file, the claim is: Check all that
             Newport Beach, CA                          apply.
             92660                                           Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred          2006                        Last 4 digits of account number         6554

     2.3     Worldmark                                  Describe the property that secures the claim:                    $11,741.00             $2,500.00     $11,741.00
             Creditor's Name                            Worldmark by Windham
                                                        22,000 credits per year
                                                        As of the date you file, the claim is: Check all that
             10750 W Charleston Blvd                    apply.
             Las Vegas, NV 89135                             Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

                                     Opened
                                     1/29/16
                                     Last Active
     Date debt was incurred          1/05/17                     Last 4 digits of account number         3828



       Add the dollar value of your entries in Column A on this page. Write that number here:                                   $356,517.54
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                  $356,517.54

     Part 2:     List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 05/21/19                                                                       Case 18-22156                                                                                     Doc 118
     Fill in this information to identify your case:

     Debtor 1                     Robert Aurthur Hamman
                                  First Name                    Middle Name                        Last Name

     Debtor 2                     Deanna Clowan Hamman
     (Spouse if, filing)          First Name                    Middle Name                        Last Name


     United States Bankruptcy Court for the:                EASTERN DISTRICT OF CALIFORNIA

     Case number           2018-22156
     (if known)
                                                                                                                                                              Check if this is an
                                                                                                                                                              amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.

               Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim          Priority               Nonpriority
                                                                                                                                                 amount                 amount
     2.1          Internal Revenue Services                              Last 4 digits of account number       2217               $5,622.52             $5,290.86                 $331.66
                  Priority Creditor's Name
                  PO Box 7346                                            When was the debt incurred?           2016
                  Philadelphia, PA 19101
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                               Contingent
                  Debtor 1 only                                             Unliquidated
                  Debtor 2 only                                             Disputed
                  Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

                  At least one of the debtors and another                   Domestic support obligations

                  Check if this claim is for a community debt               Taxes and certain other debts you owe the government

            Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

                  No                                                        Other. Specify
                  Yes                                                                        Personal Income Tax-2016

     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

               Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 5
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              37691                                                Best Case Bankruptcy
Filed 05/21/19                                                                    Case 18-22156                                                                          Doc 118
     Debtor 1 Robert Aurthur Hamman
     Debtor 2 Deanna Clowan Hamman                                                                           Case number (if known)         2018-22156

     4.1      Chase Card                                                 Last 4 digits of account number       3380                                             $3,753.00
              Nonpriority Creditor's Name
                                                                                                               Opened 12/10 Last Active
              P.o. Box 15298                                             When was the debt incurred?           11/15/16
              Wilmington, DE 19850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.2      Harley-Davidson Credit Corp.                               Last 4 digits of account number       7903                                             $7,598.44
              Nonpriority Creditor's Name
              P.O. Box 9013                                              When was the debt incurred?           5/28/2011
              Addison, TX 75001
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Deficiency Balance


     4.3      Les Schwab Tire Center                                     Last 4 digits of account number       2561                                             $1,898.62
              Nonpriority Creditor's Name
                                                                                                               Opened 03/08 Last Active
              Po Box 5350                                                When was the debt incurred?           1/04/17
              Bend, OR 97708
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Collection account




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 5
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Filed 05/21/19                                                                    Case 18-22156                                                                          Doc 118
     Debtor 1 Robert Aurthur Hamman
     Debtor 2 Deanna Clowan Hamman                                                                           Case number (if known)         2018-22156

     4.4      Safe Credit Union                                          Last 4 digits of account number       8510                                           $11,333.00
              Nonpriority Creditor's Name
                                                                                                               Opened 05/03 Last Active
              2295 Iron Point Road                                       When was the debt incurred?           11/07/16
              Folsom, CA 95630
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.5      Safe Credit Union                                          Last 4 digits of account number       3510                                             $9,854.11
              Nonpriority Creditor's Name
                                                                                                               Opened 10/07 Last Active
              2295 Iron Point Road                                       When was the debt incurred?           11/07/16
              Folsom, CA 95630
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.6      Travis Credit Union                                        Last 4 digits of account number       3901                                           $25,791.40
              Nonpriority Creditor's Name
                                                                                                               Opened 10/14 Last Active
              PO Box 2069                                                When was the debt incurred?           2/27/17
              Vacaville, CA 95696
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Deficiency Balance




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 5
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Filed 05/21/19                                                                    Case 18-22156                                                                                  Doc 118
     Debtor 1 Robert Aurthur Hamman
     Debtor 2 Deanna Clowan Hamman                                                                           Case number (if known)          2018-22156

     4.7       US Bank                                                   Last 4 digits of account number       2217                                                     $5,796.05
               Nonpriority Creditor's Name
               PO Box 108                                                When was the debt incurred?           2/2015
               Saint Louis, MO 63166
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card purchases


     4.8       USAA Savings Bank                                         Last 4 digits of account number       5740                                                   $21,011.02
               Nonpriority Creditor's Name
               C/O Weinstein & Riley, PS                                 When was the debt incurred?           3/6/1996
               2001 Western Ave, Ste 400
               Seattle, WA 98121
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     US Attorney                                                   Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     Internal Revenue Service                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     501 I Street
     Suite 10-100
     Sacramento, CA 95814
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     US Department of Justice                                      Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     Civil Trial Division, Western Region                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
     Box 683, Ben Franklin Station
     Washington, DC 20044
                                                                   Last 4 digits of account number


     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                    Total Claim
                            6a.   Domestic support obligations                                                  6a.       $

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 4 of 5
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Filed 05/21/19                                                                  Case 18-22156                                                                    Doc 118
     Debtor 1 Robert Aurthur Hamman
     Debtor 2 Deanna Clowan Hamman                                                                          Case number (if known)    2018-22156

                                                                                                                                             0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                 5,622.52
                            6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 5,622.52

                                                                                                                               Total Claim
                            6f.   Student loans                                                               6f.      $                     0.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                       6g.      $                     0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                  here.                                                                                $                87,035.64

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                87,035.64




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 5
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
Filed 05/21/19                                                                  Case 18-22156                                                                      Doc 118
     Fill in this information to identify your case:

     Debtor 1                  Robert Aurthur Hamman
                               First Name                         Middle Name            Last Name

     Debtor 2                  Deanna Clowan Hamman
     (Spouse if, filing)       First Name                         Middle Name            Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number           2018-22156
     (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease                   State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code

         2.1       Della C. Waxstein                                                          Acct# 7180
                   7041 Rancho Mirage Court                                                   Opened 12/2018
                   Citrus Heights, CA 95621                                                   Agreement
                                                                                              2014 Dodge Ram 3500HD Pick Up 156,520 miles




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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Filed 05/21/19                                                                Case 18-22156                                                                       Doc 118




     Fill in this information to identify your case:

     Debtor 1                    Robert Aurthur Hamman
                                 First Name                     Middle Name             Last Name

     Debtor 2                    Deanna Clowan Hamman
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number              2018-22156
     (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Robert Aurthur Hamman                                                 X   /s/ Deanna Clowan Hamman
                  Robert Aurthur Hamman                                                     Deanna Clowan Hamman
                  Signature of Debtor 1                                                     Signature of Debtor 2

                  Date       May 21, 2019                                                   Date    May 21, 2019




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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